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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                          ***


UNITED STATES OF AMERICA,

                Plaintiff,                             02:07-CR-00080-CRW-VCF

v.
                                                               ORDER
MICHAEL JENKINS,

               Defendant.

               Movant Michael Jenkins has filed a pro se motion to vacate, set aside, or correct

his sentence that was imposed on December 10, 2010, and upheld by decision of the United

States Court of Appeals for the Ninth Circuit on December 20, 2011. Jenkins was scheduled to

begin serving his 48-month sentence of imprisonment on February 10, 2012. Jenkins also

requests appointment of counsel at government expense, and he has established he is indigent.

               By February 21, 2012, the government shall file a response to each ground

asserted in the pro se motion filed on January 27, 2012, as supplemented on February 9, 2012,

and a response to the request for appointment of counsel filed on February 8, 2012. The

government should also submit a brief on whether the court must appoint counsel for Michael

Jenkins, or schedule an evidentiary hearing, or allow discovery by one or both parties.

               After considering the government responses, the court will decide whether to

appoint counsel at government expense. If counsel is appointed, the court will probably appoint

Robert W. Story, Story Law Group, 245 E. Liberty Street, Suite 530, Reno, Nevada 89501, to

represent Michael Jenkins in this post-conviction 28 U.S.C. section 2255 proceeding. The court

will necessarily consider whether “the interests of justice so require.” The Court of Appeals

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noted in its decision that Jenkins’ claims that trial counsel had been ineffective must be pursued

in this collateral proceeding. See U.S.C. § 3006A(a)(2)(B).

               Jenkins may file a brief in support of his section 2255 motion by February 28,

2012, and the government may file a responsive brief by March 7, 2012. The court will then

decide whether to appoint counsel and whether a hearing will be needed before the court rules on

the section 2255 motion.

               SO ORDERED.

               Dated this 13th day of February, 2012.




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